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     Michael Thomas Hupke, Petitioner  v.  The People of the State of Colorado, Respondent No. 24SC513Supreme Court of Colorado, En BancDecember 23, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA106
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari GRANTED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[REFRAMED]
      Whether the court of appeals incorrectly held that a
      violation of section 18-8-306, C.R.S. (2024) can be
      accomplished through a third party's deceit.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      AS TO ALL OTHER ISSUES.
    